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EXHIBIT 5

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AIPL_A-E._ 1

 

Preparéé| Under Direction of
Law Pract_i_ce Management Committee

 

American |nte||ectua| Property Law Association
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Ar|ington, Virginia 22202

www.aip|a.org

 

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ALEI_A

American lntellectual Property Law Association

Serving America's LegaE and Creative Community

 

Report of the
Economic Survey
2015

Prepared Under Direction of the
American |nte||ectua| Property Law Association
Law Practice N|anagement Committee

Richard W. Go|dstein, Chair
Donika P. Pentcheva, Vice Chair

June 2015
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A|PLA Law Practice Management 2015 Economic Survey Participants

We would like to thank those who helped put together and review
this year's A|PLA Economic Survey:

Richard Go|dstein: Go|dstein Patent LaW - Chair of LP|\/l Committee

Donika Pentcheva: Westman, Champ|in & Koeher - Vice Chair of LPl\/| Committee

 

David A. Divine: Lee & Hayes - Chair of Economic Survey Subcommittee

 

Ashraf Abdu|-Mohsen: AR| Kevin Kirsch: Baker Hostet|er
Rhonda Bogart: Lee & Hayes Doug|as Nemec: Skadden, Arps,
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A|PLA Report of the Economic Survey 2015

 

|NTRODUCT|ON

The A|PLA Economic Survey, developed and directed by the Law Practice Management Committee ofthe
American intellectual Property Law Association (A|PLA), reports the annual incomes and related professional
and demographic characteristics of intellectual property (lP) law attorneys and associated patent agents.
Conducted every other year by A|PLA, this survey also examines the economic aspects of intellectual property
law practice, including individual billing rates and typical charges for representative iP law services. All A|PLA
members were invited to participate.

The Law Practice l\/ianagement Committee took an active role in reviewing the Economic Survey with a goal of
improving the usefulness and value of the data that are collected and analyzed.

DATA COLLECT|ON

An e-mail invitation to participate in the 2015 A|PLA Economic Survey was sent to a list of 8,860 A|PLA members;
accounting for bounces and requests to be removed from the database, the actual sample surveyed was 8,485.
The e-maii included an individualized direct link to the Web-based questionnaire along with an attached letter
requesting additional participation in the Firm portion of the Economic Survey. The initial e-mai| was followed
up by several e-mail reminders. This year, additional efforts were made to collect the Firm Survey data. Contact
information was collected directly from the individual Survey respondents that Was then used for distributing
Firm Survey links directly to the appropriate people identified at each firm by the individual Survey respondents.

A total of 1,366 individuals responded by completing some or all of the individual questionnaire, yielding a
16.1% response rate, slightly higher than 2013. This is the fifth time the survey has been conducted oniine. The
additional efforts to gather data for the Firm portion of the survey garnered 223 responses_only slightly lower
than in 2013, When 244 firm representatives completed the firm questionnaire,

A|| data submitted by respondents were reviewed and evaluated for reasonableness and consistency; data
anomalies and out|iers were analyzed and corrected or deleted.

in many cases, respondents did not answer every question, so the total counts for each table may vary.

CHANGES TO THE SURVEY

A number of enhancements were made to the 2015 individual Survey instrument. The committee worked to
streamline the survey while still including new questions that explored important new areas of interest to the
profession. The following demographic type questions were removed from the individual Survey this year:
percent of time devoted to iP practice, change in empioyment, and change in the current employer status. Aiso
removed were questions about employer contribution to all pension and capital accumulation plans, as well as
gross income from the practice of law that was not included in the [previous] gross income question.

The question about the percentage of time devoted to various types of work Was revised which also allowed the
question about time spent training new associates to be removed. in Part ii, a follow-up question was added
regarding the reasons for increases/decreases to the corporate budget. Aiso in this section, the question for the
allocation of the annual corporate iP budget was revised to include more detaii.

in Part iii (Private Practitioners), the percent of biilabie hours actually billed to clients was removed, and the
question about business development was revised.

 

 

 

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in Part |V (Typical Charges), there was a slight change in the headings to the prosecution and client counseling
questions that clarified that the data collected were charges in 2014. There were questions added to the
litigation and related matters to collect mediation data, (the cost of the action up through mediation) for each of
the at risk categories. Additional questions were added after the various litigation at risk questions, which
required individuals to indicate if there was a strong correlation between the amount at risk and the overall
attorney hours required to litigate the action. individual respondents were also asked to report how the total
cost of asserting various actions compared to the total cost of defending the actions. Two-Party interference
and inter Partes Reexamination were removed, and data requests for inter Partes Proceedings was added. Two
questions at the end ofthe individual Survey were added regarding arbitration. One compared the cost of
resolving a dispute through arbitration to resolving a comparable dispute through litigation, and the other asked
for the percentage of frequency that various means were initiated for mediation/arbitration

Finaiiy, the business development section was swapped out from the 2015 Firm Survey instrument, and two
new sections on training and marketing were added. The question about minor offices was removed this year as
weil from the Firm Survey instrument. The questions about the report format (paper vs. eiectronic) were
removed this year from both surveys, however, new write-in questions were added that asked respondents to
explain which data have been most usefu|, and what else could be added to future surveys.

in the data tables in the report, a minimum of three responses was required to show composite values. The
term ”|SD" is used in the tables to show insufficient data. Similar to 2013, table rows with one or two
respondents have been omitted to protect the anonymity of respondents and tables with no valid rows have
likewise been omitted. Also, tables with less than 20 respondents overall were not shown in order to maintain
statistical reliability of the data, however, the Corporate iP, Agent had only 15 respondents overa||, so
exceptions were made in this case. Additionaiiy, for applicable tables, the 10th and 90th percentiies were added.
These data could only be shown if there Were 10 or more respondents

DESCR|PT|ON OF STAT|$T|CS AND FORlVlATT|NG CONVENT|ONS

Quartiies: Quartiles are used to show distributions of real numbers, responses are described by three quartiies:
the first quarti|e, the median, and the third quartile. Quartiles identify interpoiated locations on a distribution of
values and do not necessarily represent actual reported values. Another label for quartiies is percentiles; the
first quartile is the same as the 25th percentile, the median is the 50th percentile, and the third quartile is the 75th
percentile, For exampie, when ali reported values are listed from highest to lowest, the third quartile identifies
the point on the list that is equal to or greater than 75 percent (three quarters) of the reported values and equal
to or less than 25 percent (one quarter).

10th Percenti|e: Aiso used to show distributions of real numbers, ninety percent of respondents reported
this amount or more.

90th Percenti|e: Ten percent reported this amount or more. |f there are fewer than 10 values, the 90th
percentile cannot be calculated.

Median (midpoint): The median identifies the point in the distribution of reported values that is equal to or
larger than one-half of reported values and equal to or smaller than one-half-that is, the mid-point.

A median is reported when three or more values were reported by respondents The first and third quartiies are
reported when five or more fee values were reported by respondents. Quartiles and medians based on values
reported by survey respondents are estimates of the quartiies and medians that could be determined if the

 

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characteristics of the entire population represented by survey respondents were known. in genera|, the more
values that are reported, the more accurately quartiies estimate the distribution of values among ali A|PLA
members.

Mean (average): The sum of all values divided by the number of values,

it should be noted that if the mean exceeds the median, it is because high values affect the caiculations. it is
also possible, especially with a small number of values, for the mean to exceed the third quartile.

Percentages in some tables and some graphs may not sum to exactly 100% due to rounding.
Other definitions useful in understanding tabu|ar information presented in this report are:

income: Defined as ”tota/ gross income in calendar year 2014 from your primary practice...including any
partnership income, cash bonus, share of profits, and similar income you received, and any deferred
compensation in which you vested in 2014.”

Typical Charges: Respondents were instructed to respond ”on/y ifyou have been personally responsible for a
representative sample of the type of work to which the question pertains, either as a service provider (an
attorney in private practice) or as a purchaser of such services (corporate counsel).” in thinking of a typical
charge, respondents were directed to assume ”a typical case with no unusual complications,” and asked ”what
did you charge (or would have charged) or what were you charged (or would have expected to be charged), in
2014, for legal services only (inc/uding search fees, but not including copy costs, drawing fees or government
fees) in each of the following types of U$ matters ?” Respondents were also asked to indicate the type of fee
primarily used in 2014 (i.e., fixed fee, hourly, other).

Estimated Litigation Costs: Respondents were instructed to respond to these questions ”only ifyou have
personal knowledge either as a service provider (attorney in private practice) or as a purchaser of such services
(corporate counse/) of the costs incurred within the relatively recent past, for the type of work to which the question
pertains. /n each of the questions, ltotal cost' is all costs, including outside legal and paralegal services, local
counsel, associates, paralega/s, travel and living expenses, fees and costs for court reporters, photocopies, courier
services, exhibit preparation, analytical testing, expert witnesses, translators, surveys, jury advisors, and similar
expenses.” Respondents were further instructed to estimate these based on a single iP asset, such as one patent
at issue or one trademark.

Location: The metropolitan areas of Boston, New York City, Phiiade|phia, Washington (DC-l\/|D-VA), Chicago, and
l\/linneapolis-St. Paul include ali localities-central city and surrounding areas-Within the primary metropolitan
statistical area. One state-Texas-had sufficiently large numbers of respondents to be reported separateiy.
There were sufficient responses to breakout Los Angeles and San Francisco separately,' California firms outside
of those metro areas were included in ”Other West." Other categories exclude those named metropolitan
areas.

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METROPOL|TAN AREAS PERCENT COUNT
Boston Ci\/lSA* 5.6% 77
New York City Cl\/lSA* 7.9% 108
Phiiade|phia Ci\/lSA* 3.4% 46
Washington, DC Cl\/lSA* 18.3% 250
Other East: l\/laine, New Hampshire, Vermont, i\/lassachusetts, Rhode island,
Connecticut, New York, New Jersey, Pennsy|vania, De|aware, i\/|ary|and, Virginia, and
W . . . 5.4% 74

est Vlrglnla
l\/letro Southeast: Ra|eigh-Durham, Greensboro-Winston-Sa|em, and Charlotte,
NC; Atlanta, GA; and i\/|iami-Ft. Lauderda|e-West Palm Beach, FL 3.4% 47
Other Southeast: North Caro|ina, South Caro|ina, Georgia, and Florida 2.9% 40
Chicago Cl\/lSA* 5.4% 74
i\/linneapolis-St. Pau| Pl\/|SA** 4.1% 56
Other Central: l\/Ilnnesota, North Dakota, South Dakota, Wisconsin, l\/|ichigan, Ohio,
indiana, |l|inois, |owa, Nebraska, Kansas, i\/|issouri, Kentucky, Okiahoma, Arkansas,
Louisiana, i\/lississippi, A|abama, and Tennessee 16.2% 221
Texas 6.4% 87
Los Angeles Ci\/lSA* 2.7% 37
San Francisco Cl\/lSA* 5.2% 71
Other West: l\/iontana, Wyoming, Colorado, New i\/iexico, |daho, Utah, Nevada,
Arizona, Washington, Oregon, California, Alaska, and Hawaii 13.0% 178

 

 

*CMSA: Conso|idated i\/ietropolitan Statistica| Area- a metro area with a population of one million or more.

**PMSA: Primary l\/ietropo|itan Statistical Area- a component of a Cl\/iSA.

 

 

 

 

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Respondent Background

 

 

' A total of 1,366 individuals participated in the survey.
" The majority of survey participants were male (79.8%) and white/Caucasian (87.8%).

' i\/iore than five in 10 respondents (53.9%) were under the age of 50, with nearly three in 10 (29.2%)
ranging in age between 40 and 49. The proportion of respondents aged 60 or more was 17.9%, which
has increased steadily over the past several years.

' Other than a law degree, more than one-third of all respondents (38.3%) reported holding an advanced
degree such as a masters or Ph.D. A majority of respondents (57.8%) reported holding a bachelor's
degree.

' Over half (54.7%) of all respondents were Private Firm, Partner and Private Firrn, Associate, followed by
Corporate iP Department, Attorney (10.4%), Soio Practitioner (8.9%), and Corporate iP Department,
Head (8.0%). These percentages have all held steady over the past few surveys.

l An overwhelming majority (89.4%) of all respondents had been admitted to the patent bar.

' i\/lore than six in 10 respondents (61.3%) had fewer than 20 years’ experience practicing intellectual
Property Law, a percentage which has decreased over the last few surveys. 12.2% reported having fewer
than five years’ of |P law experience in 2014, also a decline from proportions reported in previous years.

l Respondents were asked to report their percent of time spent in various areas of technical
specialization. The most common iP technical specialization, representing over 50% of respondents'
time, was mechanical (27.3%), followed by computer software (16.7%), chemical (15.5%), and electrical
(15.1%).

" Four in 10 respondents (40.6%) practiced in the i\/iid-Atlantic or New Eng|and area, including 18.3% in
the Washington, DC, Conso|idated i\/ietropo|itan Statisticai Area (Ci\/iSA). The Centrai region represented
25.7%, and one in five (20.9%) were located in the West-very similar to 2013.

ETHN|C|TY (P. l-1, QG)

GENDER (P. l-1, QS)

Wh|la/Caucaslan
81.8%

  
   

Mlll
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minor
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' Blended
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F'rnalb Nal|ve Canad|an
ZUJH \ 0.1%

E': Aslan/Fac|llc |slander
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LN 1531

 

 

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AGE (P. l-1, Q4)

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45-49
15_0% 35-39
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' Voungel than 30
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i_§ or Older
8,59¢

zz,s% 5°'64
s.a%

ADM|TTED TO THE PATENT BAR (P. l-1, Q3)

Tl|
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No
10.6%

 

YEARS OF lNTELLECTUAL PROPERTY LAW
EXPER|ENCE (P. l-Z, Q7)

10-14
15.8%

  

15-19
ms ,_,
lllj$

S.B%

zn-n_.
14.1%

Fewer lhi|l 5
11.1%

40 or More
4.4’¢

8.1%
30_34 35-39
7_4,6 4.6%

 

HlGHEST EDUCAT|ON OTHER THAN LAW (P. l-1, QQ)

Corporate lP Dep¢

Corporate |P

Attorney, Corporate Lqil
Dep\

Go\ft |P Olfl:e,

Other than
PTD

Mas!er's Degree
24.5%

Bache|or's Degree
S'FI‘D¢

  
 
  

Other None
1.2% 2.6%

'ooclorm own

13.5%

PR|MARY PRACT|CE (P. l-1, QZ)

Background o/ All Respondents

Private F|rm, Ol Counse|

Head of z~o%_
8.||!'5

Attorney,

Dept
moi-

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0.6%

Private Firm, Associate

    
  
 
 
 
 
 
 
 
 
 
 
 
  
   

B.B%
Sa|o
Practitioner

11.1%

 

Frlvale 68.7%
Corporate 24.0%

Prlv.ltl' Flrm, Partner

 
 

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Chlcago CMSA
5.4%

M|nne.-St. Paui PMSA
4.1%

mher €!n\nl
16.1%

Texas
6.4%

Los Angeles CMSA

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San Francls¢o CMSA

     
  
    

Other Wes!
13.0%

Washington, DC CMSA
18.3’6

_vhlizd¢rphw cwa
1496

_Nrc cMsA
7.9%

Boston CMSA
5.6"

 

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TYP|CAL COSTS OF LlT|GATlON _ _

Survey participants were asked to provide cost estimates, but on/yfor the types of/itigation they had personal
knowledge of, either as a service provider (attorney in private practice) or as a purchaser (corporate counsel),
and were engaged in recent/y. "Total cost” was requested, including outside legal and paralegal services, local
counsel, associates, paralegals, travel and living expenses, fees and costs for court reporters, photocopies,
courier services, exhibit preparation, analytical testing, expert witnesses, translators, surveys, jury advisors, and
similar expenses Participants were also asked to estimate based on a single iP asset (i.e., one patent at issue,
one trademark).

The following table reports median litigation costs for Patent lnfringement, All Varieties, Patent infringement
Pursuant to the Hatch-Wa><man Act, Patent infringement by Non-Practicing Entity, Section 337 Patent
infringement Action in the international Trade Commission, inter Partes Proceedings, Trademark infringement,
Trademark Oppositlon/Cancellation, Copyright lnfringement, and Trade Secret l\/iisappropriation. in this year's
survey, the cost of the action up through mediation was collected for the various types of litigation costs.

Within Patent infringement Suits, All Varieties median costs have generally stayed the same or dropped slightly
from 2013, with the exception of end of discovery for less than $1 million at risk. For Patent infringement
Pursuant to Hatch-Waxman, the median decreased for all values at risk inclusive, all costs except for when there
was less than $1 million at risk. The median costs for Patent infringement Suits, Defending Claims of Patent
infringement by Non-Practicing Entity was down from 2013 in most cases, while for Patent infringement Suit,
Section 337 litigation, the median cost is up from 2013 in nearly all cases, i\/|edian costs are also up in Trademark
infringement Suits inclusive of all costs for all values at risk except $1-$10 million. l\/lost copyright infringement
suit median costs are down from 2013, and the median trade secret misappropriation suit end of discovery costs
have decreased or remained the same when compared to 2013. i\/lediation (median) costs, in general, rose as
the value at risk rose.

MED:AN LlTiGAnoN CosTs soo'o`s'

2005 2007 2009 2011 2013 2015
PATENT lNFRiNGEMENT Suit, ALL VARlETlEs
LEss THAN $1 i\/iiLLloN AT R\si<
End of discovery $350 $350 $350 $350 $350 $400
inclusive, all costs 650 600 650 650 700 600
i\/lediation N/A N/A N/A N/A N/A 100
$1-$10 i\/ilLLioN AT Rlsi<
End of discovery N/A N/A N/A N/A $1,000 $950
inclusive, all costs N/A N/A N/A N/A 2,000 2,000
l\/lediation N/A N/A N/A N/A N/A 200
$10-$25 |\/in_i_ioN AT Risi<
End of discovery N/A N/A N/A N/A $2,000 $1,900
inclusive, all costs N/A N/A N/A N/A 3,325 3,100
i\/lediation N/A N/A N/A N/A N/A 250
i\/|oRE THAN $25 i\/|lLLloN AT Rlsi<
End Of discovery $3,000 $3,000 $3,000 $3,000 $3,000 $3,000
inclusive, all costs 4,500 5,000 5,500 5,000 5,500 S,OOO
i\/iediation N/A N/A N/A N/A N/A 300

PATENT |NFRINGEMENT PunsuANT To THE HATcH-WAxMAN Acr (l.E., "ANDA LlTlGATloN")
LEss THAN $1 iV|lLLloN AT Rlsi<

End of discovery N/A N/A N/A N/A $300 $350

inclusive, all costs N/A N/A N/A N/A 513 650

Mediation N/A N/A N/A N/A N/A 75
$1-$10 i\/ilLLloN AT Rrsi<

End of discovery N/A N/A N/A N/A $1,000 $1,000

inclusive, all costs N/A N/A N/A N/A 1,800 $1,500

l\/leCllal:lOn N/A N/A N/A N/A N/A 200

 

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2005 2007 2009 2011 2013 2015
$10-$25 NilLLloN AT Rlsi<
End of discovery N/A N/A N/A N/A $2,500 $1,500
inclusive, all costs N/A N/A N/A N/A 4,000 3,000
N|ecllation N/A N/A N/A N/A N/A 200
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inclusive, all costs N/A N/A N/A N/A 600 500

Mediation N/A N/A N/A N/A N/A 100
$1-$10 iVilLuoN AT RlsK

End of discovery N/A N/A N/A N/A $750 $570

inclusive, all costs N/A N/A N/A N/A 1,250 1,000

Mediation N/A N/A N/A N/A N/A 113
$10-$25 iVilLLloN AT RlsK

End of discovery N/A N/A N/A N/A $1,500 $1,200

inclusive, all costs N/A N/A N/A N/A 2,400 2,000

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End of discovery N/A N/A N/A N/A $2,500 $2,000

inclusive, ali costs N/A N/A N/A N/A 4,000 3,750

l\/lediation N,lA N;'A N/A N/A N/A 213

PATENr lNFRlNGEMENr S_uir,- Si=.c‘noN 337
LEss THAN $1 lV|lLLloN AT RlsK

End of discovery N/A N/A N/A N/A $375 $500

inclusive, all costs N/A N/A N/A N/A 550 750

l\/lediation N/A N/A N/A N/A N/A 100
$1-$10 |\/ilLLloN AT Rlsx

End of discovery N/A N/A N/A N/A $750 $1,000

inclusive, all costs N/A N/A N/A N/A 1,800 1,600

Mediation N/A N/A N/A N/A N/A 113
$10-$25 |VilLLloN AT Rlsx

End Of discovery N/A N/A N/A N/A $1,500 $2,000

inclusive, all costs N/A N/A N/A N/A 3,000 4,000

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End of discovery N/A N/A N/A N/A $3,000 $3,250

inclusive, ali costs N/A N/A N/A N/A 5,000 5,000

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i_N`T_t_n Pan_t_Es PR_Qr;Eznsnss

Through filing petition N/A N/A N/A N/A N/A $80

Through end of motion practice N/A N/A N/A N/A N/A 200

Through PTAB hearing N/A N/A N/A N/A N/A 275

Through appeal N;'A N,FA N,-'A NlA N,lA 350

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LEss THAN $1 l\/ilLLloN AT Rlsi<

End of discovery $200 $150 5175 $200 $150 5150

inclusive, ali costs 300 255 300 350 300 325

l\/lediation N/A N/A N/A N/A N/A 50
$1-$10 l\/iiLLloN AT RlsK

End of discovery N/A N/A N/A N/A $350 $263

inclusive, all costs N/A N/A N/A N/A 550 500

Mediation N/A N/A N/A N/A N/A 75
$10-$25 iViiLLioN AT Risi<

End of discovery N/A N/A N/A N/A $500 $400

inclusive, ali costs N/A N/A N/A N/A 1,000 720

Mediatlon N/A N/A N/A N/A N/A 100

 

 

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lViEDiAN LlTlGATloN CosTs (com…ur@) $0005
2005 2007 2009 2011 2013 2015
MoRE THAN $25 MlLLloN AT Rlsi<
End of discovery $750 $600 $750 $1,000 $750 $900
inclusive, all costs 1,250 1,250 1,400 1,500 1,500 1,600
Nlediation N/A N,!'A Nj"A N{A N;'A 100
mpammzr@`#pemion`fcmcetunou
End of discovery $50 $50 $50 $50 $50 $50
inclusive, all costs 80 75 80 90 80 95

Cor_»`rm§ii‘r l_Ni=_mNi;_El\_i:ENT Sufn"
LEss THAN $1 l\/ilLuoN AT Rlsi<

End of discovery $138 $150 $150 $200 $150 $150

inclusive, all costs 250 290 300 350 300 250

Nlediation N/A N/A N/A N/A N/A 40
$1-$10 i\/ilLLloN AT RlsK

End of discovery N/A N/A N/A N/A $350 $250

inclusive, all costs N/A N/A N/A N/A 563 500

Mediation N/A N/A N/A N/A N/A 63
$10-$25 i\/ilLLloN AT RlsK

End of discovery N/A N/A N/A N/A $600 $500

inclusive, all costs N/A N/A N/A N/A 1,000 750

l\/lediation N/A N/A N/A N/A N/A 100
iV|oRE THAN $25 l\/ilLLioN AT Risi<

End Of discovery $550 $550 $750 $ 750 $775 $750

inclusive, all costs 975 1,000 1,100 1,375 1,625 1,200

Mediation N_,"A N,lA N,!A N;'A N_rA 100

TRADE SEcnet Mlsnpnnopmmon Surr
LEss THAN $1 iVilLuoN AT Rlsx

End Of discovery $200 $200 $250 $250 $250 $250

inclusive, all costs 300 350 400 425 425 500

l\/lediation N/A N/A N/A N/A N/A 50
$1-$10 i\/ilLLloN AT Rlsk

End of discovery N/A N/A N/A N/A $500 $500

inclusive, all costs N/A N/A N/A N/A 800 925

l\/lediation N/A N/A N/A N/A N/A 50
$10-$25 i\/ilLLioN AT Rlsi<

End of discovery N/A N/A N/A N/A $850 $800

inclusive, all costs N/A N/A N/A N/A 1,400 1,500

i\/iediation N/A N/A N/A N/A N/A 100
lVioRETHAN $25 l\/|iu_ioN AT Risi<

End of discovery $1,000 $1,000 $1,225 $1,360 $1,900 $1,625

inclusive, all costs 2,000 1,750 2,250 2,500 2,950 2,650

iViediation N;‘A NlA NIA N;'A NlA 113

 

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EST|MATED TOTAL COST OF A PATENT lNFRlNGEMENT SUlT - ALL
VAR|ET|ES (P. l-105 to l-112, Q35Aa-Q35Al)

 

Less than $1 million at risk
End of Discovery l'l
inclusive, all costs m
Mediation m
$1-$10 million at risk
End of Discovery -l'-
inclusive, all costs _.l_
i\/iediation m
$10-$25 million at risk
End of Discovery _l-
|nclusive, all costs _-'_
Mediation l.-"
More than $25 million at risk
End of Discovery ___
inclusive, all costs ___
Mediation .__ l

$0 $2,000 $4,000 $6,000 $8,000

 

 

 

Thousands
L-l§t(lunltl|o,r§rd (luurt||e f Mudllri £lMuan j

 

 

EST|MATED TOTAL COST OF A PATENT lNFRlNGEMENT SUlT - HATCH
WAX|V|AN ACT (P. l-113 to l-120, Q35Ba-Q35Bl)

 

Less than $1 million at risk _ f
End of Discovery la l
inclusive, all costs l- .
Mediatlon L1 '
$1-$10 million at risk l
End of Discovery -l

inclusive, all costs _-

Mediation I.l'.
$10-$25 million at risk

End of Discovery --

 

 

 

inclusive, all costs ___

i\/ledlation ll-
More than $25 million at risk
End Of Discovery ___ _

inclusive, all Costs ___

Mediation ___
$0 $2,000 $4,000 $6,000 $8,000 $10,000
Thousa nds

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EST|MATED TOTAL COST OF PATENT lNFRlNGEMENT-DEFEND|NG
CLA|MS BY NON-PRACT|C|NG ENT|TY
(P. l-121 to l-128, Q35Ca-Q35Cl)

 

Less than $1 million at risk
End of Discovery n
inclusive, all costs m
iViediation ll
$1-$10 million at risk j
End of Discovery m

 

 

 

inclusive, all costs ___
l\/lediation m
$10-$25 million at risk .
End of Discovery ___ l
inclusive, an costs ___ §
Mediation -1 l l
More than $25 million at risk l :
End of Discovery ___ l
inclusive, ali costs l ___
Mediation l_'l l
$0 $1,000 $z,ooo $a,ooo $4,000 $5,000 $6,000
Th ou sands

 

L-l§l Quarlila,f]rtl fluor:i|e l: Median :IMear\ ]

EST|MATED TOTAL COST OF A PATENT lNFRlNGEMENT SUlT-
SECT|ON 337 (P. l-129 to l-136, Q35Da-Q35Dl)

Less than $1 million at risk , ,
End of Discovery ll` l

inclusive, all costs u-
Mediation q ' '
$1-$10 million at risk ' '
End of Discovery -.l" l l
inclusive, all costs -- '
iviediation I.l' l l
$10-$25 million at risk .
End of Discovery _.'_

inclusive, all costs

Mediation L-'-

More than $25 million at risk

__
End Of Discovery ___
___

inclusive, all costs
Mediation l-

$0 $2,000 $4,000 $6,000 $8,000 $10,000

 

 

 

 

Thousa nds
l:-lsl Quartil¢ill'd Qulrtlll: c Median ]Nlnan _]

 

 

 

 

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Six in 10 respondents say the total cost of filing a petition for inter partes proceedings (iPR, Cl\/lB or PGR) is
about the same as the total cost of defending such an action. Of those that indicate it is not the same, on
average the cost of filing is 83.4% the cost of defending.

EST|MATED TOTAL COST OF lNTER PARTES PROCEED|NGS
(P. l-139 to l-142, Q36i-Q36iv)

Through filing petition m

 

Through end of motion practice

Through appeal

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l
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l

 

 

 

$0 $100 $200 $300 $400 $500 $600 $700

Thousands

liu nunrillu,."zra tommie I: Mmhn :lMa.-m l

TOTAL COST COMPAR|SON OF FlLlNG A PET|T|ON FOR lNTER
PARTES PROCEED|NGS (|PR, CBM or PGR) TO TOTAL COST OF
DEFEND|NG (P. l-143, Q36B)

    

Cost is About the Same
60.8%

Cost of Assertlng Differs
from Cost of Defending
39.2%

Ave`ra_ge Cost of Fll|ng as
a Percent of the Cost of
Defending - 83.4%

 

 

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